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 5

 6
     Attorneys for Plaintiff
 7   United States of America

 8

 9                                   IN THE UNITED STATES DISTRICT COURT

10                                      EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                               CASE NO. 1:14CR0002 LJO-SKO

13                                  Plaintiff,               STIPULATION AND ORDER TO CONTINUE
                                                             STATUS CONFERENCE
14                           v.

15   HEATHER LYNN NECHEFF, AND
     DONALD LANCER,
16
                                   Defendants.
17

18
             IT IS HEREBY STIPULATED by and between Benjamin B. Wagner, United States Attorney and
19
     Brian K. Delaney, Assistant U.S. Attorney and Marc Days, Assistant Federal Public Defender for the
20
     defendant, Heather Lynn Necheff and Daniel Harralson attorney for defendant Donald Lancer that the status
21
     conference set for January 21, 2014 at 1:00 pm before the Honorable Sheila K. Oberto be continued to
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     February 3, 2014, at 1:00 p.m. The reason for the request is because the Honorable Lawrence J. O’Neill
23
     issued an Order dated January 14, 2014, 1:14-mc-0003 LJO, prohibiting any defendant in custody at Fresno
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     County Jail from being transported to Federal Court due to an outbreak of H1N1 flu. The Order is in effect
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     for 7 days, but contemplates the potential of being extended. The defendants are in custody at Fresno County
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     Jail. The parties agree that the Court’s next regularly scheduled date for status conferences provides a
27
     reasonable amount of time for the flu outbreak to be resolved, and the parties can revisit the issue if it is not.
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 1   The parties will continue to work on discovery during this time period.

 2          The parties further request the Court to enter an Order finding that the "ends of justice" served by a

 3   continuance outweigh the interest of the public and the defendant in a speedy trial, and that the delay

 4   occasioned by such continuance is excluded from the Act's time limits pursuant to 18 U.S.C. §

 5   3161(h)(7)(A).

 6

 7          Dated: January 15, 2014                                 Respectfully submitted,

 8                                                                  BENJAMIN B. WAGNER
                                                                    United States Attorney
 9

10
                                                            By      /s/ Brian K. Delaney
11                                                                  BRIAN K. DELANEY
                                                                    Assistant U.S. Attorney
12
            Dated: January 15, 2014                                 /s/ Daniel L. Harralson
13                                                                  DANIEL L. HARRALSON
                                                                    Attorney for Donald Lancer
14

15          Dated: January 15, 2014                                 /s/ Marc Days
16                                                                  MARC DAYS
                                                                    Attorney for Heather Lynn Necheff
17

18
                                                    ORDER
19

20   IT IS SO ORDERED.
21
        Dated:     January 17, 2014                                 /s/ Sheila K. Oberto
22                                                        UNITED STATES MAGISTRATE JUDGE
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